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                                                Case: 1:21−cv−02817
                                                Assigned To : Moss, Randolph D.
                                                Assign. Date : 10/22/2021
                                                Description: Gen. Civ. (E−DECK)
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